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19" of May 2019
Dear Judge Walton,

My Name Is Mouzayan, head of Lebanese Red Cross Tyr Branch, South
Lebanon, managing this center since 2006 until present, expended the services in Tyr
center from emergency medical services only to medical services, blood transfusion
services, providing health educating to nursing institutions and schools, and organizing
continuous training sessions on Red Cross principles, peace and nonviolence to
rehabilitate the youth, as well as camps.

And in the last 5 years we are offering support and assistant to Syrian refuges in
South Lebanon.

| had the chance to meet Mr. KassimTajideen in mid 2007 in surprised visit to our
center, with a generous donation, to support finalizing the structure of the center
extension building. And since then his contribution was flowing year by year, and in
certain occasion when the center was short of cash flow for supporting the daily
expenses he was there to support.

The above contribution did not stop him from supporting other social and
educational non governmental organization, also hiring hundreds of freshly graduated
students into his companies in Africa. And not to forget the amount of scholarships he
was Offering to gifted students in the region.

His absents and his usual support in the region is missed. His arrest was a shock
for all of us, a generous, chariable person as Mr. Tajideen deserve a second change in
life.

Truly Yours,

Mouzayan Ajami

Head of Lebanese Red Cross Tyr Branch

 
